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Pro Se I (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT, ,, , .
for the TT NAT CT PN J9; bf
Middle District of Florida

Orlando__ Division

Nadia Mubarak CaseNo. (2 \Q-cw- 896 021-372 604

(to be filled in by the Clerk’s Office)

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-V-

Jury Trial: (check one) Yes [_]No

Barnes & Noble College Booksellers, LLC

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A, The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
Name Nadia Mubarak
Street Address 101 Water Oak Drive Sanford FI 32773
City and County Sanford
State and Zip Code FL 32773
Telephone Number 407-529-7337
E-mail Address nadiamubarak @bellsouth.net

 

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if/known). Attach additional pages if needed.

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Defendant No. 1
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if own)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if own)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Bames & Noble College Booksellers, LLC

 

120 Mountain View Bivd.

 

 

Basking Ridge
NJ 07920

 

 

 

Randy Cefalu

Assistant Manager

9907 Universal Blvd Orlando
Orlando

Florida 32819

407-903-8500

 

sm042@bncollege.com

 

Steven Way

 

General Manager

101 Aquarius Agora Drive
Orlando, Orange

FL 32816

407-823-3924

 

Steven.Way@ucf.edu

 

 

 

 

 

 

 

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Il.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[V Federal question C Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

Title VII of the Civil Rights Act of 1864, Age Discrimination in Employment Act of 1967, wrongful
termination, discrimination unlawful and unfair treatment

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
L. The Plaintiffs)

a. If the plaintiff is an individual

 

 

 

The plaintiff, (name) N/A , is a citizen of the
State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State of (name) >

 

and has its principal place of business in the State of (name)

 

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual

 

 

The defendant, (name) , iS a citizen of
the State of (name) . Oris a citizen of
(foreign nation)

 

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b. If the defendant is a corporation
The defendant, (name) yA , is incorporated under
the laws of the State of (name) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) :

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

To be terminated because of changes of my class schedule which only changed for two weeks,
when other students were allowed to have those changes, the unfair treatment that | received
and | was not treated equally as the other students because of my age, discriminated, deprived
and not offered, given the same treatment, fairness as the other employees. The stressful
situation that | faced afterwards of not having a job, and the results were devastating.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

Randy Cefalu discriminated and treated with unfaimess, since he came on board on August of 2017. He acted
against me lying to the General Store Manager, treated me different than the other students working. | was
deprived of the same opportunities, and privileges that other students had. My schedule change for only two
weeks, and he made the decision to take me of the schedule, and terminate me. The General Store Manager
was not aware, neither knew of the decision that Randy Cefatu made. | was still working on February 26 of 2017
and he sent the text on March, 8 2018. The General Store Manager Steven Way offered a job as a janitorial in his

store after that. | was still on payroll, and they both alleged that my last day was on February 26 2018.

Relief

 

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

The harm that | suffered, stressful situation, devastated to alleged that | was terminated when | was still working
and communicating with the General Store Manager. Economic harm caused after that, lost wages and medical
expenses, and misconduct that Randy Cefalu caused pain and suffering, emotional anguish, emotional distress,
loss of reputation. | had built a strong foundation with Faculty, Staff, and administration, professors are and were
the priority as well students at Rosen Campus. There is and there are difficult to quantify in dollars and cents. The
General! Stcre Manager, Steven Way knew since the beginning the problems and issues that | was experiencing
andl | asked for a mananar ta cnma to the stare to ha ahla ta haln and see what was hannaninn [ was not heared

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

L agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

05/21/2019

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Nadia Mubarak

 

 

 

 

 

 

 

 

 

 

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